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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Greg Young Publishing, Inc., CASE NUMBER

2:16-cv-04587-SVW-KS
PLAINTIFF(S)

 

. JS-6
JUDGMENT ON THE VERDICT
FOR THE PLAINTIFF(S)

Zazzle, Inc..,

 

DEFENDANT(S).

 

This action came on for jury trial, the Honorable STEPHEN V. WILSON, United States District
Judge, presiding, and the issues having been duly tried and the jury having duly rendered its verdict,

 

IT IS ORDERED AND ADJUDGED that the plaintiff(s):
Greg Young Publishing. Inc.

 

 

recover of the defendant(s):

Zazzle, Inc.

 

 

the sum of _- See Verdict - with interest thereon at the legal rate as
provided by the law, and its costs of action, taxed in the sum of to be determined by motion.

Clerk, U. S. District Court

Dated: August 10, 2017 py Lace Ut. 2 g

 

 

Paul M. Cruz, Dep Clerk

At: Los Angeles, CA

 

ce: Counsel of record

 

CV-49 (05/98) JUDGMENT ON THE VERDICT FOR THE PLAINTIFF(S)
